       Case 6:20-cv-01056-JAR-KGG Document 1 Filed 02/26/20 Page 1 of 12



                                                                                                   Reset Form


                           IN THE UNITED STATES DI STRICT COURT                                 FILED
                                                                                              11& District Court
                                FOR THE DI STRICT OF KANSAS                                    l)ln1ct o! Kansas



                                                          )                                  FEB 2 6 ?O?O
                                                          )
\\oS]                                                     )
                                                          )
                                                          )
      (Enter above the full name of Plaintiff(s))

vs.

                                                                  Case Nu mber: -6:20-cv-01056-JAR-KGG
                                                                                  -------
                                                                            (To be assigned by Clerk)



Street and number
WtOhlW• \~
Baj \,e_,vue, , Wfr
City             State        Z ip Code                   )

(Enter above the full name and address of
Defendant in this action - list the name and address
of any additiona l Defendants o n the back s ide of
this sheet.)

                         EMPLOYMENT DISCRIMINATION COMPLAINT

1.       T his employ me nt discriminatio n laws uit is based on (check o nly those that apply):

         g       Title VII of the C ivil Rig hts Act of 1964, as ame nd ed, 42 U.S.C. §§ 2000e, et seq. ,
                 fo r e mployment disc rimin ation on th e bas is ofrace, co lor, re li g io n, gender, or
                 natio nal o rig in .
                 NOTE : In order to bring suit in federal district court under Title VII, you must f irst
                 obtain a right-to-sue letter from the Equal Employment Opportunity Commission.

         0_      Age Discrim inat io n in E mplo yme nt Act of 1967, as a me nded, 29 U .S.C. §§ 621, et
                 seq., for emp loyme nt discriminatio n o n the basis of age (age 40 o r o lder).
                 NOTE: In order to bring suit in f ederal district court under the Age Discrimination
                 in Employ ment Act, you must first file charges with the Equal Employment
                 Opportunity Commission.

         ~ A me rican w ith Disabilit ies Act of 1990, as amended, 42 U.S .C. §§ 12 101 , et seq. ,
                 fo r e mployment di scrimin at io n on the basis of disability.
                 NOTE : In order to bring suit in federal district court under the American with
         Case 6:20-cv-01056-JAR-KGG Document 1 Filed 02/26/20 Page 2 of 12
i




                   Disabilities Act, you must first obtain a right-to-sue letter from the Equal
                   Employment Opp ortunity Com mission.

           D       Other (Desc ribe)




    2.     If yo u are c la iming that the discriminatory co ndu ct occurred at a different locatio n than the
           add ress prov ided fo r Defe ndant, please prov ide t he fo llow ing info rmatio n:

                                                                                        67Z20
           (Street Address) (City/Co unty) (State) (Z ip Code)

    3.     When did the discrimination occur? Please g ive the date or time period :




                                  ADMINISTRATIVE PROCEDURES

    4.     Did yo u fi le a charge of discriminatio n aga inst Defend ant(s) w ith the Ka nsas State
           Div isio n of Human Ri ghts or the Kansas State Commiss ion o n Human Rig hts?

            llJl
            Yes                           t\__~.. _.___.. .\__
                           Date fil ed : ___                  +-)_W
                                                                  ~ l~
                                                                     9+---
          ~No

    5.     Did yo u fil e a charge of discriminatio n aga inst Defendant(s) with the Equa l E mployment
           Opportunity Co mmiss io n or other federal age ncy?

                           Date fil ed:   _A
                                           -'-----'P~
                                                    - n~\___,+---""1.~;b~\_.g_ _

    6.    ~ e yo u received a Notice of Rig ht-to-S ue Letter?
          -W_Yes I I No
          If yes, please attach a copy of the letter to thi s co mpla int .

    7.    If yo u are cla iming age discrimination , check one of the fo llow ing:

          C=:J 60 days o r more have passed since 1 fi led my charge of age discrimi natio n w ith the
          ~ Employment Opportunity Commiss ion.
          [__J
          _ _ fewer than 60 days have passed sin ce I fil ed my charge of age discrim inatio n with

                                                          2
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        the Equal E mployment Oppot1unity Co mmiss io n

                                     NATURE OF THE CASE
8.      The co ndu ct co mpla ined of in this lawsuit invo lves (check o n ly those that apply):
         D failure to hire me
        JS[]__ terminatio n of my emp loyme nt
        D
        __     failure to promote me



       I
               failure to acco mmodate my disa bi lit y
               terms and conditio ns of my e mployme nt differ from those of s imilar emplo yees
               retaliation
         ~ harass ment
        D
        __     reduction in wages
         D other conduct (specify):




        Did you compla in a bo ut this same co ndu ct in yo ur charge of di scriminatio n?

          0    Yes       LJ No
9.      I be lieve that I was discriminated against because of (check all that apply) :

        D     my race or co lor, w hich is _ _ _ _ _ _ __
        D     my re lig io n, w hic h is _ _ _ _ _ _ _ _ _ __
        D     my nationa l o rig in, w hich is - - ~= - - - - - - -
        •     my ge nder, w hich is   D              D
                                               ma le ;         fe ma le
        00    my di sability or pe rce ived d isability, w hi ch is W'.l 6 )ovtt2,,r   chge6t, '\/0   l65Uo..6
        D     my age (my birth year is: - - - - - - - - - - ~
       _m_    other: t'.).CCrfily V\J<U'Q.., no:\   <Ji  ,10.q
       D id_ y6 u state the same reaso n(s) in yo ur charge of discrimination?
       JSA_Yes           _D__No

10.     State here, as briefl y and clearly as poss ible, the esse ntial facts of your cla im. Describe
        spec ifica lly the cond uct that yo u be lieve is discriminatory and describe how each
        defe nda nt is invo lved in the co nduct. Take t ime to o rganize yo ur stateme nt; yo u may use
        numbered parag raphs if yo u find it he lpful. It is not necessary to make legal a rgume nts, or
        to cite cases or statutes.




                                                    3
       Case 6:20-cv-01056-JAR-KGG Document 1 Filed 02/26/20 Page 4 of 12




        1\<DL~bol.¼            mtj 1:RAH )te         1 rO,f\ i Q.,VQ.d     -hl.Vef'6Ja~ fQ[fo~t,Q;
         re.V~.k\N::S. Qo.6pta)d orrt \& :P!\.A)c:f\t:V \ locvY4Jl li:v>-l                    a:cl-t~
         Cood,:bbm :-\-ho1 me.et ±M.c lWha ,:boo d d 1m »l H~
         Unc\u 9moril\~ws Wit t\ D,~\a'i \~:t"I-Q.S 'A~-t of- \C\C\ D, as
         ArN.rd.od t f\--00 ' ) . 1hfmJ~h c,'rl: , mj ¼ o L)PQ, \ WP\.b Slr'-¼ t~+(S:)
      -\btbt=r-ll.93t'd       d1}Q     to m~ c1-fiib; \ir'1 , fDc '-@lmQk ,
        \j~\\\'.n~ ep;\ JY\~         k2u Joa(n Ma.DG\9~.C J b.109 QSSlf:\cl \o.J
       ~ \MDr Kstc 0IA.nd,t'Q \lrtApfP, clo.n\a.~ of                 ~-tcr ~ ~ed O:-CJ.¥llb~Ct"
                 a..n~ m,vc.\t',    YY\C)f'~ ..
         (Attach additional sheets as necessary) .

11.      The acts set forth in paragraph 10 of t his comp lai nt :
         _D__ are still being co mmitted by Defendant.
         ~ r e no longer bei ng committed by Defendant.
         _[0'"_ may
                n    still be being co mmitted by Defendant.

12.                                               Plaintiff:
         _LJ_~l works for Defendant
         ~        no longer works for Defendant or was not hired

13.      If this is a disability-related claim, did Defendant deny a request for a reasonab le
         a~odation?
         ~Yes              D      No



         Explain:   l Wlf Uo.bh>c\ \Q.aVO., \ WC16 ~\ L'9'ta h\e., :fb, l1bel
        \fuo fl )P{)[D\J()ct.       -<hclat 411rot) , fai\M       10 proved~                       (2:xBo,
                 re.q uQS t- -ed.       Qa, Q.. o lYI mcx::lcct (On s ,

                                      REQUEST FOR RELIEF

As re lief from the a llegations of discrimination as stated above, Plaintiff prays t hat the court grant
the fo llolin] relief to P laint iff: (check any and a ll that app ly)
                 Defendant be directed to emp loy Plaintiff
         - !~I- Defendant be directed to re-emp loy Plaintiff
             0   Defendant be directed to promote Plaint iff
             0   Defendant be directed to _ _ _ _ _ _ _ _ _ _ _ _ __ _ _


                                                     4
     Case 6:20-cv-01056-JAR-KGG Document 1 Filed 02/26/20 Page 5 of 12




           D  Injunctive relief (please exp lai n): - - - - - - - - ~ - - - - - -
          ~Monetary damages (please exp lain):QQ.\at \n(h)CCOd             jo;S Q~~     f{n(Y)
         7:J?costs and fees involved in litigating this case             '      7J
         ~ A
         -=-  s   additional re lief to make Plaintiff who le, Plaintiff

seeks:         /   b5Se d         ()Jaff~S      ,
                                                •   J:t)q,i n. one! ~ ,
         Ulldu_ e         hardcb, p ,                  I '75, (Z)()C}, tX>
                                                              v


and such other relief as may be appropriate, including attorney's fees, if app licab le.



Signed th is       j,&   day of       robrllc:uy                   , 20   ao.
                                                              ~~.
                                                              Signature of Plaintiff

                                                              DrUD~trll                  Li fJS .e__,'J
                                                              Name (Print or Type)
                                                               \Lo?Jl           N . tv\lhOf><,t_f2~\,s
                                                              Address
                                                              w,D.h~h>-- l{.s                    \e71.Jq
                                                              City State Zip Code
                                                              .31 ta - go2 - loJ 4 5
                                                              Te lephone Number

                                     DESIGNATION OF PLACE OF TRIAL

Plai ntiff designates { ~            hita, OKansas City, Dropeka}, Kansas as the location for the trial in
                                      (Select One Location)
this matter.

                                                              Signatureof Plai ntiff

                                       REQUEST FOR TRIAL BY JURY

Plaintiff requ ests trial by jury.   Nv       es      D
                                           (Select One)
                                                              No

                                                              f\lAQDIO~h
                                                              Signature of Plainti ff
Dated : _ _ _ __
(Rev. I 0/15)


                                                          5
    ,..                         Case 6:20-cv-01056-JAR-KGG Document 1 Filed 02/26/20 Page 6 of 12

✓
           EEOC Form 161-B (11/16)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                   NOTICE OF RIGHT TO SUE {ISSUED ON REQUEST)

          To:    Dremetra Lipsey                                                                From:    Kansas City Area Office
                 1637 N. Minneapolis St.                                                                 Gateway Tower II
                 Wichita, KS 67214                                                                       400 State Avenue, Suite 905
                                                                                                         Kansas City, KS 66101




                D           On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.l(a))

           EEOC Charge No.                                         EEOC Representative                                           Telephone No.
                                                                   Geoffrey T. Gould,
           563-2019-01629                                          Investigator                                                  (913) 551-6647
                                                                                             (See also the additional information enclosed with this form.)
          NOTICE TO THE PERSON AGGRIEVED:
                                                                                                                                                        \
          Title Vii Hf ti, ;;, Civii R!gi,tG /\ct of : StW, thti Americans ~~l th Disabilities Act (ADA}, c t m e Genetic Information Nondiscrimination
          Act (GINA): This is your Notice of Right to Sue, issued under Title VII , the ADA or GINA based on the above-numbered charge. It has
          been issued at your request. Your lawsuit under Title VII , the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
          of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
          state law may be different.)

                D           More than 180 days have passed since the filing of this charge.
                [KJ         Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that th 1;:EOC will
                            be able to complete its administrative processing within 180 days from the filing of this charge.
                [K]         The EEOC is terminating its processing of this charge.

                D           The EEOC will continue to process this charge.
      Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
      90 days after you receive notice that we have completed action on the charge. In this regard , the paragraph marked below applies to
      your case:
                D           The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be flied In federal or state court WITHIN
                            90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered_charge will be lost.


                D           The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                            you may file suit in federal or state court under the ADEA at this time.

          Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
          in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
          any violations th at occurred mora them 2 ya .. rs (3 y&ars) before you file su it may not be collectlbl;;.

          If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                                   On behalf of the Commission




           Enclosures( s)
                                                                           ivJ_~                                                   NOV 2 7 2019
                                                                                                                                       (Date Mailed)
                                                                                  Natascha Deguire,
                                                                                 Area Office Director

          cc:           Mai Ly
                        Senior Consultant, Inclusion Practices
                        T-MOBILE USA, INC.
                        12920 Se 38th Street
                        Bellevue, WA 98006
                   Case 6:20-cv-01056-JAR-KGG Document 1 Filed 02/26/20 Page 7 of 12
Enclosure with EEOC
Form 161 -B (11/1 6)
                                         INFORMATION RELATED TO FILING SUIT
                                       UNDER THE LAws ENFORCED BY THE EEOC

                         (This information relates to filing suit in Federal or State court under Federal law.
                If you also plan to sue claiming violations of State law, please be aware that time limits and other
                       provisions of State law may be shorter or more limited than those described below.)

                                    Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS
                                    the Genetic Information Nondiscrimination Act (GINA), or the Age
                                    Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once th is 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction . (Usually, the appropriate
 State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
 after talking to your attorney. Filing this Notice is not enough . You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth . Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge . Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                  Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 - not 12/1/10 -- in order to recover unpaid wages due for July 2008. Th is time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII , the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII , the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be fi led within 90 days of this Notice and with in the 2- or 3-year EPA back pay recovery period .

ATTORNEY REPRESENTATION --                  Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you , the U.S. District Court having jurisdiction
in your case may, in limited circumstances , assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days .

ATTORNEY REFERRAL AND EEOC ASSISTANCE                       --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                       IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix.,        and        other       ADA          related     publications,    available       at
http://www.eeoc.gov/laws/types/disability regulations.cfm.
                                                                                                          -
"Actual" disability or a "record or' a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either "actual" or "record or' a disability):

 •   The limitations from the impairment no longer have to be severe or significant for the impairment to
     be considered substantially limiting.
 •   In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
     learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
     1630.2(i)), "major life activities" now include the operation of major bodily functions, such as:
     functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
     genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
     hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
     within a body system.
 •   Only one major life activity need be substantially limited.
 •   With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of "mitigating
     measures" (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
     considered in determining if the impairment substantially limits a major life activity.
 •   An impairment that is "episodic" (e.g., epilepsy, depression, multiple sclerosis) or "in remission" (e.g.,
     cancer) is a disability if it would be substantially limiting when active.
 •   An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
     months.

"Regarded as" coverage: ·
 •  An individual can meet the definition of disability if an employment action was taken because of an
    actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
    termination, exciusion for failure to meet a qualification standard, harassment, or denial of any other term,
    condition, or privilege of employment).
 •  "Regarded as" coverage under the ADAAA no longer requires that an impairment be substantially
    limiting, or that the employer perceives the impairment to be substantially limiting.
 •  The employer has a defense against a "regarded as" claim only when the impairment at issue is objectively
    BOTH transitory (lasting or expected to last six months or less) AND minor.
 •  A person is not able to bring a failure to accommodate claim if the individual is covered only under the
    "regarded as" definition of "disability."

Note: Although the amended ADA states that the definition of disability "shall be construed broadly" and
"should not demand extensive analysis," some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability regulations.cfm.
                                           Case 6:20-cv-01056-JAR-KGG Document 1 Filed 02/26/20 Page 9 of 12

/
     EEOC Form 5 (11/09)                                                                                                                                                 .
                                                                                                                         Charge Presented To:                    AgencyJies) Charge
                                        CHARGE OF DISCRIMINATION
                       This form Is affected by the Priva cy Act of 197 4. See enclosed Privacy Act
                              Statement and other Information before completing this form.
                                                                                                                             •IBJ   FEPA
                                                                                                                                    EEOC
                                                                                                                                                                 No(s) ~ ';
                                                                                                                                                                             '.


                                                                                                                                                                     563-201~-01,6 29
                                                                                   Kansas Human Rights Commission                                                                      an, EEOC
                                                                                             State or local Agency, if any

      Name (indicate Mr. , Ms., Mrs.)                                                                                                        Home Phone                             Year of Birth

      Ms. Dremetra Lipsey                                                                                                             (316) 550-9427
      Street Address                                                                                 City, State and ZIP Code

      1637 N. Minneapolis St. #2, WICHITA, KS 67214

       Na med is t he Em p loyer, Labor Organization , Em ployment Age ncy, Apprentice sh ip Comm it t ee, or St ate or Local Government Agency
       Th at I Beli eve Discriminat ed Aga inst Me o r Oth e rs . (If more than two, list under PARTICULARS b elc-w.)
       Name                                                                                                                     I   No . Em f>l oyees. Members   I                Phone No.

      T-MOBILE USA, INC.                                                                                                        .           501+                 l    <31E) f.i , ~3<~ 500
    --,c;--; . _ ... .. '" . -      --· · ··=· ..-- -- ~- ... -~· -- - - - - ···
      Street Address                                                                                 City, State and ZIP Code

       2525 N. Woodlawn Ave., WICHITA, KS 67220

       Name                                                                                                                         No. Employees, Members                        Phone No.



      Street Address                                                                                 City, State and ZIP Code




      DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                                    DATE(S) DISCRIMINATION TOOK PLACE


         •w • • •                                                                     •                  •                                          Earliest             Latest



                                                                                                     •                                          02-25-2018                        04-08-2019
                             RACE                 COLOR                      SEX             RELI GION           NATIONAL ORIGIN

                                                                              [K]
           •                     RETALIATION
                                           OTHER (Specify)
                                                                   AGE


      THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
                                                                                    DISABILITY              GENETIC INFORMATION
                                                                                                                                                      •          CONTINUING A~TION


          I. Respondent hired me on or about February 25, 2018. My most recent job title was Associate Text
          Expert and my most recent direct supervisor was Laurice Pro.fit (no known disabilities), Team Coach.
          Throughout the tenure of my employmenti I received favorable performance reviews and no serious
          disciplinary actions.

           II. Respondent is aware that I have medical conditions that meet the definition of a disability under the
           Americans with Disabilities Act of 1990, as amended ('ADA'). Throughout the tenure of my empl9yment, I
           have been subjected to harassment because of my disabilities. For example, Courtney Lawrence, Team
           Manager, would frequently follow me around and yell at me when I needed to use the bathroom.
           Furthermore, I was physically assaulted by another co-worker.
                                                                                                                                       I



          Ill. I requested accommodations because of my disabilities since November 2018. These accommodation
          requests included being able to use medical leave, having bathroom breaks, and using a stand-up/sit-
          down desk. Respondent failed to provide the accommodations in a timely manner or at all.
     I want th is cha rge fil ed with both th e EEOC and t he Stat e or loca l Agen cy,                          NOTARY - When necessary for State and Local Agency Requirem ents
     if an y . I wi ll advise the agencies if I change my add ress or phone num ber
     and I will cooperate fully wit h t hem in the processi ng of my cha rge in
     accordance with their procedures.                                                                           I swea r or affi rm t hat I have read t he above charge and t h at it
     I decl are under penalty of perjury t hat t he above is true a nd c or rect.                                is tru e t o t he best of m y k nowl edge, in formation and belief .
                                                                                                 .               SIGN ATURE OF COMPLAINANT


              Dlgltally signed by Dremetra Lipsey on 08-16-2019 03:38                                            SUBSCRI BED AND SWORN TO BEFORE ME THIS DATE
                                      PM EDT                                                                     (month, day, year)



                                                                                                                                            -
                          Case 6:20-cv-01056-JAR-KGG Document 1 Filed 02/26/20 Page 10 of 12

;   EEOC Form 5 (11/09)

                                                                                                                            Agency(ies) .C harge
                          CHARGE OF DISCRIMINATION                                             Charge Presented To:
          This form Is affected by the Privacy Act of 197 4. See enclosed Privacy Act
                 Statement and ot~er Information before completing this form .
                                                                                                   •IBJ   FEPA
                                                                                                          EEOC
                                                                                                                            No(s):


                                                                                                                              563-2019-01629
                                                      Kansas Human Rights Commission                                                       and EEOC
                                                                   State or local Agency, if any


     IV. Because of the foregoing actions, on or about April 8, 2019, I submitted a two-week resignation notice
     and constructively discharged.

     V. I believe that respondent harassed and failed to provide me with an accommodation because of my
     disability, In violation of the ADA. I further believe that I was constructively discharged because of my
     disability and requests for a reasonable accommodation, In violation of the ADA.




    I want th is charge filed with both the EEOC and the State or local Agency,         NOTARY - When necessary for State and local Agency Requirements
    if any. I will advise the agencies if I change my address or phone number
    and I will cooperate fully with them in the processing of my charge in
    accordance with their procedures.                                                   I swear or affirm that I have read the above charge and that it
    I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                        SIGNATURE OF COMPLAINANT


       Dlgltally signed by Dremetra Lipsey on 08-16-2019 03:38                          SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                               PM EDT                                                   (month, day, yeati
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CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

1.     FORM NUMBER/TlnE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2.     AUTHORllY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000ff-6.

3.    PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence
of matters covered by the EEOC statutes (and as applicable, other federal , state or
local laws}. Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent.organization against
which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF Nor GIVING INFORMATION. Charges must
be reduced to writing and should identify the charging and responding parties and the
actions or policies complained of. Without a written charge, EEOC will ordinarily not
act on the complaint. Charges under Title VII, the ADA or GINA must be sworn to or
affirmed (either by using this form or by presenting a notarized statement or unsworn
declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. It is not
mandatory that this form be used to make a charge.

                           NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements .
You will be told which agency wiil handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the charge.                ·

                                        NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if
retaliation is taken against you or others who oppose discrimination or cooperate in
any investigation or lawsuit concerning this charge . Under Section 704(a) of Title VII,
Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f) of GINA, it is
unlawful for an employerto discriminate against present or former employees or job
applicants, for an employment agency to discriminate against anyone, or for a union
to discriminate against its members or membership applicants, because they have
opposed any practice made unlawful by the statutes, or because they have made a
charge, testified, assisted, or participated in any manner in an investigation,
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,
    proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and
    Section 503(b) of the ADA prohibits coercion, intimidation, threats or interference with
    anyone for exercising or enjoying, or aiding or encouraging others in their exercise or
    enjoyment of, rights under the Act.
